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AO450 (NVD Rev. 7/31/24) Judgment in a Civil Case




                                   UNITED STATES DISTRICT COURT
                                                    DISTRICT OF NEVADA


Joe Hand Promotions, Inc.
                                                          JUDGMENT IN A CIVIL CASE
                                 Plaintiffs,
         v.                                               Case Number: 2:24-cv-00241-APG-NJK
9th Island Kava Lounge LLC et al


                                 Defendants.


         Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and
         the jury has rendered its verdict.

         Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
         or heard and a decision has been rendered.

         Decision by Court. This action came for consideration before the Court. The issues have been
         considered and a decision has been rendered.

      IT IS ORDERED AND ADJUDGED
Judgment is entered in favor of Plaintiff Joe Hand Promotions and against Defendants 9th Island Kava
Lounge,LLC, Starrie Hawkins, and Jaoime Alboro, joint and several, in the amount of $20,740.00.




         12/09/2024
         ____________________                                    DEBRA K. KEMPI
         Date                                                   Clerk



                                                                 /s/ MAM
                                                                Deputy Clerk
